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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________X

 JAMES H. BRADY,                                          Civil Action No.
                            Plaintiff,                    20-cv-7047 (LJL)
              v.

 GREGORY SHEINDLIN ESQ., and
 THE SHEINDLIN LAW FIRM,

                     Defendants.
______________________________________X

              PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                             MOTION TO DISMISS


      Gregory Sheindlin’s (Sheindlin) November 13, 2020 Motion to Dismiss

does nothing more than provide more evidence that the politically connected son

of Judge Judy Sheindlin, deliberately and aggressively fraudulently forced

Plaintiff and his wife to sell their Hudson Yards “12th Floor and Roof Unit

Apartment” and lose their family event space business on September 5, 2018 to

pay IGS Realty over $1.7 million dollars when Sheindlin knew that there was

never a Jury finding in IGS Realty’s favor on the personal guarantee issue, and

Sheindlin knew there was never a Jury finding against Brady on the personal

guarantee defenses in the June 26, 2015 three question Jury Interrogatories.

(Plaintiff’s Exhibit No. 6-2).



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      Sheindlin also knew he never obtained a finding by Judge Ostrager, the

Appellate Division, First Department, or the New York State Court of Appeals

adjudging that the personal guarantees were enforceable, and Sheindlin never

obtained the required judgment from Judge Ostrager or anyone else rejecting

Plaintiff’s numerous defenses to the enforceability of the personal guarantees.

      Sheindlin’s November 13, 2020 Motion to Dismiss further proves the fact

that Sheindlin committed a felony as an officer of the Court when he himself

wrote the May 31, 2017 financial judgment where it is shown he fraudulently

“implied” but did not actually state that the three question June 26, 2015 Jury

Interrogatory findings were a jury finding that the personal guarantees between

Plaintiff and IGS Realty were enforceable and that Plaintiff’s defenses to the

personal guarantees were rejected by the jury.

      Sheindlin’s misrepresentation through implication of the June 26, 2015

jury findings was a criminal act. The May 31, 2017 financial judgment

(Defendant’s Exhibit No. 16-2) that Sheindlin himself wrote proves Sheindlin

fraudulently used the three question Jury Interrogatory answers from June 26,

2015 as false instruments misrepresenting through implication only that the three

question jury findings on the June 26, 2015 jury interrogatory sheets where a

judgement by the jury that through question number one the personal guarantees

were enforceable against Plaintiff, and that the jury findings in question number


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two and three were jury findings against Plaintiff’s defenses to the personal

guarantees. This was a criminal act and the bases for the claims for damages

against Sheindlin.

      In Sheindlin’s November 13, 2020 Motion to Dismiss, he over and over

keeps saying that there was a final State Court judgement against Brady when he

knows there was never a State Court judgement by the Jury or anyone else ruling

in favor of IGS Realty on the personal guarantee issue and Sheindlin knew that

neither the jury or anyone else ever ruled against Brady’s multiple defenses that

voided the personal guarantees as a matter of law and public policy although

these defenses were litigated exhaustively by Brady in State Court.

        The May 31, 2017 financial judgment Sheindlin that Sheindlin wrote and

provides as Exhibit 16-2 is Plaintiff’s best proof of Sheindlin’s fraudulent and

criminal actions.

      This May 31, 2017 document that Sheindlin wrote proves Sheindlin acted

with criminal intent when he fraudulently misrepresented through implication

that the three question Jury Interrogatory answers were a jury finding that the

personal guarantees were enforceable and that the jury rejected Brady’s multiple

defenses when not a word of his false representations were true.

      The May 31, 2017 financial judgment which fraudulently misrepresented

through implication that the jury ruled in favor of IGS Realty on the personal


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guarantee issue and that the Jury ruled against Plaintiffs Defenses to the personal

guarantees when he know none of the multiple questions that needed to be

answered by the jury pertaining to these issues were on the three question jury

sheets, was the only basis for why IGS Realty was able to collect over $1.7

million dollars from Plaintiff and his family on September 5, 2018.

      The civil and criminal damages that Plaintiff is seeking from Sheindlin for

his proven criminal acts cannot be barred by lack of subject-matter jurisdiction,

the Rooker-Feldman Doctrine, res judicata, collateral estoppel, or the Noerr-

Pennington Doctrine.

      Since the three question Jury Interrogatory prove that there was no finding

by the jury that the personal guarantees were enforceable, and there was no jury

finding rejecting Plaintiff’s defenses against the personal guarantees, this proves

Plaintiff was not coming to this Court as a State Court loser on the personal

guarantee issue, which was the only contract Plaintiff had with IGS Realty. This

means the Rooker-Feldman Doctrine does not shield Gregory Sheindlin from his

crimes.

      Sheindlin is lying when he asserts that res judicata and collateral estoppel

bar Plaintiff’s against him. As proven in the February 17, 2017 oral argument

transcript (Exhibit No. 1), and the January 27, 2017 letter to Judge Ostrager

(Exhibit No. 2), Plaintiff repeatedly fought to litigate the issue of the personal


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guarantees and his defenses while Sheindlin and Judge Ostrager completely

ignored the mandated questions that he admitted during jury instructions on June

26, 2015 needed to be answered in IGS Realty favor and against Brady’s

defenses before IGS Realty was able to collect on the personal guarantees.

      The Jury Instructions of June 26, 2015 (Plaintiff’s Exhibit No. 6-5) prove

that both Judge Ostrager and Sheindlin knew there were a series of questions that

needed to be asked and answered before a jury could determine whether the

personal guarantees were voided, or whether Plaintiff’s defenses were rejected,

but none of the series of questions was ever presented to the jury so there was

never a jury finding in IGS Realty favor that the personal guarantees were

enforceable

       The February 17, 2017 oral argument transcript shows Judge Ostrager

refused to adjudicate the questions that he failed to include in the Jury

Interrogatories. Sheindlin knew Judge Ostrager refusal to adjudicate the issue or

defense is not a win on the personal guarantees issue for IGS Realty, nor does it

defeat Plaintiff’s personal guarantees defense.

      The February 17, 2017 oral argument transcript and the January 27, 2017

letter to Judge Ostrager prove that Plaintiff fought in State Court to have the

personal guarantee issue and defenses adjudicated, yet the issue was never

adjudicated in State Court, proving Sheindlin’s claims that Plaintiff’s claims


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against him are barred by Rooker-Feldman Doctrine, res judicata, or collateral

estoppel are false.

      Regardless, this complaint against Sheindlin is about him and his

fraudulent criminal acts that took place after the trial that ended on June 26, 2015.

      Sheindlin is lying when he states that this Court has no subject-matter

jurisdiction where Plaintiff and Sheindlin live in separate states, and the damage

that Sheindlin caused through his fraudulent acts was over $1.7 million.

      Sheindlin makes no attempt to explain how the Noerr-Pennington Doctrine

would shield him from civil liability for his crimes against Plaintiff. The Noerr-

Pennington Doctrine is entirely inapplicable to the present case.

      Sheindlin knew Judge Ostrager’s June 26, 2015 Jury Instructions

(Plaintiff’s Exhibit No. 6-5) went into detail of what multiple questions needed to

be answered by the jury in favor of IGS Realty and against Brady before IGS

Realty could collect on the personal guarantees:

      [IGS Realty] claims that the contracts it had with the lessees that were
      guaranteed by Mr. Brady required that Mr. Brady pay the unpaid rents due
      through October 1, 2009, and that Mr. Brady breached the contracts by not
      paying the rent in full. Mr. Brady claims that he was relieved of any
      obligation to pay rent because he was constructively evicted from the
      premises.

      [IGS Realty] has the burden of proving by a preponderance of the evidence
      that [IGS Realty] had a contract with Mr. Brady for the payment of rent,
      that [IGS Realty] did what it was required to do under the contract[,] [t]hat
      Mr. Brady breached the contract by not doing what he was required to do

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      under the contract, and that [IGS Realty] sustained damages because of
      Mr. Brady’s breach.

      In determining whether Mr. Brady breached his guarantee for the lease by
      not paying the full rent, you must consider whether Mr. Brady was
      constructively evicted from the premises pursuant to the instructions that I
      will give you.


      Sheindlin knew when he was hired in late 2016 that none of these multiple

steps listed above were ever presented to a jury or obtained during the jury trial,

and it was his job to have these questions answered in favor of IGS Realty and

against Brady’s multiple defenses in order to obtain a personal guarantee

judgment in favor of IGS Realty.

      Instead the evidence proves Sheindlin fraudulently misrepresented through

implication that Question No. 1 of the Jury Interrogatories was a jury finding that

the personal guarantees were enforceable, and that Questions Nos. 2 and 3 were

jury findings against Plaintiff’s multiple defenses to the enforceability of the

personal guarantees.

      Sheindlin knew only three questions were asked of the jury and none of the

three questions on the June 26, 2015 Jury interrogatories pertained to the

multiple-step questions that Judge Ostrager said in his instructions would need to

be “considered “and answered by the jury in IGS Realty favor and against Brady




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in order to collect on the personal guarantees. This is an irrefutable fact by

looking at the three question Jury interrogatories. (Plaintiff’s Exhibit No. 6-2).

      The May 31, 2017 financial judgment that Sheindlin fraudulently wrote to

steal over $1.7 million dollars from Brady and his family shows the only thing

that he used to support his claim that Brady owed IGS Realty over $1.7 million

dollars was his false representation “through implication” that the three question

Jury Interrogatory answers from June 26, 2015 were findings in favor of IGS

Realty on the personal guarantee questions and a rejection of Brady’s personal

guarantee defenses.

      A review of the slyly worded May 31, 2017 “financial judgment” that

Sheindlin wrote as an officer of the court shows he DOES NOT ever state that

IGS Realty won or that Brady lost the litigation that pertained to the Personal

Guarantees during the June 2015 trial.

      Sheindlin’s actions were fraud on top of fraud. Sheindlin knew question

number one on the jury sheets was nothing more than an incorrect and irrelevant

finding that Brady’s corporations were acting as illegal banquet halls and not

meeting hall’s because of the false law told to them by Ostrager that if Brady’s

corporations did not follow a certain floor plain with patrons looking passively in

one directions that meant that Brady was not operating as a legal meeting hall.




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      Plaintiff provide the floor plan proving the claim was false (Plaintiff’s

Exhibit 6-6) and yet it was ignored by the State Court.

      The false law that led to the jury finding in Question Number One that

Plaintiff’s corporations were operating as banquet halls was never corrected, even

after Plaintiff showed Judge Ostrager the Department of Buildings floor-plan.

      Regardless, Scheindlin knew at the time he was hired in late 2016 that

Question Number One had nothing to do with the personal guarantees yet he

forced the sale of Plaintiff’s business and destroyed the life of Plaintiff and his

wife by fraudulently misrepresenting though implication that Question Number

One on the Jury Interrogatories was a finding in IGS Realty favor that the

personal guarantees were enforceable, and that Questions Nos. 2 and 3 were jury

findings against Plaintiff's defenses to the personal guarantees.

      The May 31, 2017 financial judgment that Sheindlin wrote on its face

shows this falsehood: “the jury rendered a verdict on June 26, 2015 in favor of

the Plaintiff (IGS), against the defendant (Brady) in the amount of $541,758.62.”

      A review of page one of the money Judgment that Sheindlin wrote also

shows that he fraudulently stated that the Financial Judgment debt was based on

the June 26, 2015 verdict of a jury in the case of IGS Realty v. James H Brady.

      In the second paragraph of page one of the money Judgment Sheindlin

wrote the following:


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      “AND Plaintiff (IGS REALTY) having presented all its evidence in
      support of its claim and having rested, and the Defendant (Brady) having
      presented all its evidence in support of his defenses and having rested, the
      jury rendered a verdict on June 26,2 015, in favor of Plaintiff, against the
      Defendant, in the sum of $541,758.62, with the statutory rate of interest
      accruing from May 1, 2009 and the cost of disbursements of the Plaintiff.”

      This Court knows that it was criminal for Sheindlin to falsely “represent”

and “imply’ in the May 31, 2017 financial judgment that he wrote as an officer of

the court that the verdict of the June 26, 2015 Jury was the underlying proof that

a personal guarantee debt was adjudicated by a jury to owed to IGS Realty and to

falsely imply that Brady’s defenses to the personal guarantee defenses were

rejected by the jury when he know no such questions were ever even presented to

the jury on June 26, 2015.

      In his fraudulent money judgment, Sheindlin also states the following:

      And Plaintiff having filed a motion for attorney fees with accrued interest
      based on the verdict in its favor, Defendant having filed his objection and
      on February 17, 2017 oral arguments by the parties, the court issued its
      decision and Order (See NYSCEF Doc NO 291) that Plaintiff is entitled to
      attorney fees in the amount of $350,000 with interest accruing from
      January 1, 2012.”


      Mr. Sheindlin knew by reviewing the June 24, 2015 trial transcript (Exhibit

3) that IGS Realty “rested” after only the testimony of the landlord Philippe Ifrah,

who made no assertions of any wrongdoing by Brady or his corporations, and

Sheindlin knew the admissions made by Philippe Ifrah himself at trial by his own


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attorney and during cross-examination prove the landlord’s subsequent illegal

actions that destroyed the building’s certificate of occupancy, voided the personal

guarantees as a matter of law and public policy.

      And yet Sheindlin destroyed Plaintiff and his wife’s lives and livelihood

through nothing more than his fraudulent misrepresentation through implication

that the three question Jury Interrogatory from June 26, 2015 were findings in

IGS Realty favor on the personal guarantee issue and findings against Brady’s

multiple personal guarantee defenses when he knew his claims were totally false.

      Mr. Sheindlin knew at the time that he was hired in late 2016 that it was

already adjudicated through admission of Robert Fass at closing arguments on

June 26, 2015 that the Personal Guarantees were voided by the landlord’s illegal

conduct after the leases and Personal Guarantees were signed:

      “So let’s being at the beginning. In 2001 Mr. Ifrah placed an ad in the
      New York Times. He (Brady) goes to the space, checks it out, and puts a
      deposit down a check on one of the spaces. Then speaks with his father
      who has great experience in real estate who tells him this is in the special
      garment district for zoning, so he better check out whether his use is
      permitted.

      “So he puts a stop on the check and tells Mr. Ifrah he wants to do his due
      diligence, which he does. And he checks the whole building from top to
      bottom, legal and physical conditions, and concludes that everything is
      fine. The building’s legal, the physical conditions are legal, and everything
      else is in good and satisfactory condition. So then he writes another check
      and rents the space. After that in the same year and the following year he
      rents two other spaces.



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      “He also gets permits to construct meeting halls representing to the
      Building Department it’s on the section that covers meeting halls, section
      of the regulation. And he gets public assembly permits also for meeting
      hall use. The last certificate of occupancy that he got expired in 2007.”


      These are admissions on the record by IGS Realty’s attorney Robert Fass

that IGS Realty and Principal Philippe Ifrah voided the Personal Guarantees by

changing the risk under the leases and therein voided any personal liability by

James H. Brady.

      In New York, a personal guarantee of a lease is unenforceable when “the

occupancy is illegal and in violation of the certificate of occupancy.” Kaplan v.

Synergy, Inc., 23 Misc.3d 1123 (Civ. 2009).

      A guaranty must be construed “in the strictest manner” (White Rose Food

v. Saleh, 99 NY2d 589, 591 (2003).

      An alteration of the contract to which the guaranty applies will serve to

discharge the guarantor's obligation unless the guarantor has consented to the

alteration. See White Rose Food v Saleh, 99 NY2d 589 [2003]; Davimos v Halle,

35 AD3d 270 [2006.]).

      “A guarantee will not be enforced where the modification impermissibly

increased the guarantor's risk without his consent.” White Rose Food, 99 NY2d

at 591 (refusing to enforce guarantee of commercial lease where underlying lease

was modified).


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      A guarantor cannot be held responsible for the failure of the principal to

perform. Arlona Ltd. Partnership v 8th of Jan. Corp., 50 AD3d 933, 934 9 (First

Dept 2008).

      Secondly, Robert Fass’s admissions constitute formal judicial admissions:

      Facts admitted by a party’s pleadings constitute formal judicial admissions.
      Formal judicial admissions are conclusive of the facts admitted in the
      action in which they are made. Zegarowicz v Ripatti, 67 A.D.3d 672, 674-
      675, (2nd Dep’t 2009.)
      Put another way: “a formal judicial admission dispenses with the
      production of evidence by conceding, for the purposes of the litigation, the
      truth of a fact alleged by the adversary.” People v. Brown, 98 N.Y. 2d 226,
      232, (2002). “Defendant is bound by his formal admission.”



      Sheindlin and IGS Attorney Robert Fass knew the personal guarantees

were voided through the admissions of the landlord Philippe Ifrah and his

attorney Robert Fass, yet Sheindlin made the criminal decision to lie and

fraudulently “imply only” in his May 31, 2017 judgment that he wrote that in his

that Question Number One on the Jury Interrogatories was a jury determination

that the personal guarantees were enforceable.

      Plaintiff is not showing the May 31, 2017 financial judgment as a State

Court loser but as the iron clad proof of criminal activity by Sheindlin, who

obtained a money judgment by falsely implying that the Jury Interrogatory were a

finding for IGS Realty that the personal guarantees were enforceable, and falsely

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asserting that Plaintiff’s defenses against the personal guarantees had been

rejected by the jury.

       Plaintiff’s evidence in his Second Amended Complaint proves that at the

same exact time in 2018 that Sheindlin was fraudulently stealing from Brady and

his wife pretending “through implication” that Question Number One of the June

26, 2015 Jury Interrogatory sheets was an jury finding that the Personal

Guarantees were enforceable, IGS Realty Attorney Robert Fass submitted to the

Court of Appeals the true fact that Question Number One on the Jury

Interrogatories was a finding, based on the false law given the jury, that

Plaintiff’s corporations were operating as banquet halls and not meeting halls.

      In his Motion to Dismiss Sheindlin is silent on addressing the fact that

while he was falsely “implying” that Question Number One the Jury

Interrogatories was a finding that the Personal Guarantees were enforceable, IGS

attorney Robert Fass was disproving Sheindlin’s lie before the New York State

Court of Appeals by admitting question number one was nothing more than a

finding that Brady’s corporations were operating as banquet halls and not

meeting hall’s

      In his January 5, 2018 OPPOSITION TO DEFENDANT-

APPEPLLANT’S MOTION FOR LEAVE TO APPEAL (Plaintiff’s Exhibit No.

6-3), Robert Fass admitted that Question No. 1 of the Interrogatories pertained to


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a finding of whether Plaintiff’s corporate tenants were operating as meeting halls

or banquet halls, which had absolutely nothing to do with whether or not the

Personal Guarantees were enforceable. This fact is proven by a reading of the

headings from Robert Fass as shown below:

      “THE COURT’S JURY CHARGE REGARDING THE DIFFERENCE
      BETWEEN ‘MEETING FACILITIES’ AND ‘BANQUET FACILITIES’
      WAS CORRECT UNDER THE APPLICABLE PROVISIONS OF THE
      NEW YORK CITY ZONING RESOLUTION AND BUILDING CODE”

      On page 7, Mr. Fass wrote the following heading:

      “DEFENDANT- APPELLANT WAS NOT SURPRISED BY THE FACT
      THAT THE LEGALITY OF HIS USE WOULD BE LITIGATED”

      And on page 9 Mr. Fass had the following heading:

      “THE APPELLATE DIVISION DID NOT REVESE THE JURY
      FINDING THAT THE DEFENDANT- APPELLANT WAS OPERATING
      AS AN ILLEGAL BANQUET FACILITY”

      Robert Fass’s admissions further prove that the Sheindlin’s October 26,

2017 Article 52 Petition was fraudulent misrepresentation of the jury findings.

Just like Robert Fass, Sheindlin knew Question No. 1 did not find that Brady was

liable to IGS Realty and that questions number two and three were not findings

rejecting Brady’s personal guaranty defenses under the personal guarantees, yet

Sheindlin committed fraud on the New York State Courts by using these three

jury findings as the false instruments that used to force the sale of Brady’s

business to IGS Realty over $1.7 million dollars on September 5, 2018.

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     In his November 13, 2020 Motion to Dismiss, Sheindlin continues his

pattern and practice of telling big lies and relentless personal attacks on Plaintiff

as he tries to distract from his criminal conduct that destroyed the life of Plaintiff

and his family in so many ways.

      To try to cover his crime Sheindlin is now changing his story. Now he

states on page two of his Motion to Dismiss that “On June 26, 2015, a jury

rendered a verdict in favor of IGS Realty against Brady for breach if the

guarantee agreement.”

      The three question Jury Interrogatories prove this is a new lie and this false

claim is nowhere to be found in the May 31, 2017 Judgment written by Sheindlin.

      For the first time in this Motion to Dismiss, Sheindlin makes the following

false claim that he never made in the State Court Judgment that he wrote and that

is disproven by looking at the three questions on the June 26, 2018 Jury

Interrogatories.

      On Page 2 of his Motion to Dismiss, Sheindlin states that “on June 26,

2017 a jury rendered a verdict in favor of IGS Realty and against Brady for

breach of the personal guarantee agreements.”

      These two new false claims were provided to Sheindlin by Magistrate

Judge Wang and Judge Engelmayer as these two judges try to protect this

politically connected man from the consequences of his criminal conduct. But


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facts are stubborn things and the three question Jury Interrogatory questions

proves the multiple questions that needed to be answered in IGS favor and

against Brady in order for IGS Realty to collect on the personal guarantees were

not even on the jury interrogatories so it is untenable for Sheindlin or any of his

protectors to claim “on June 26, 2017 a jury rendered a verdict in favor of IGS

Realty and against Brady for breach of the personal guarantee agreements.”

      Sheindlin is desperately making this newly minted false claim now so that

this Court would then state that the Rooker-Feldman Doctrine bars these courts

review of this issue or Judgment.

      The February 17, 2017 oral argument transcript prove conclusively that

neither Judge Ostrager nor Sheindlin addressed the multiple questions that they

knew needed to be determined in IGS’s favor and against Plaintiff were never

adjudicated. Judge Ostrager never ruled that the personal guarantees were

enforceable.

      A review of the video of the Appellate Division, First Department May 16,

2018 Oral Argument Archives shows the Appellate Division judges and

Sheindlin are silent and never ruled on whether the personal guarantees were

enforceable, or on Plaintiff’s defenses, and the Court of Appeals never ruled on

the issue either.




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      The video of the May 16, 2018 Oral Arguments has been removed and

destroyed by the Appellate Division, First Department but can be found on

Plaintiff’s website www.bullyjudges.com.

      The evidence proves Brady continually demanded that the issue be

adjudicated and the evidence proves the Judge Ostrager and the Appellate

Division judges sat silent and never adjudicated one way or the other the issue of

the personal guarantees, which is why Sheindlin cannot present any decision or

judgment stating that the personal guarantees were enforceable.

      The fact that Sheindlin got away with this crime in State Court does not

make Plaintiff a “State Court Loser” but rather a crime victim that has a right to

seek civil and criminal recourse against Sheindlin

      Plaintiff has proven Sheindlin knew the jury finding in Question No. 1

dealt with determining the irrelevant and trumped up and false issue of whether

Plaintiff’s corporations were operating as “banquet hall” or “meeting halls” based

on false law given to them by Judge Ostrager in his June 26, 2015 jury

instructions:

      Plaintiff's claims that the leases it had with the corporations of the
      defendant, James Brady, required that the use -- the corporation's use and
      occupy the spaces only as meeting halls as defined by the law, but that
      instead he used them as banquet halls.

      A meeting hall is defined as a space in which during the major period of
      occupancy the persons assembled comprise a seated or otherwise passive

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      audience to a performance or presentation and have their attention focused
      in a common direction at a common subject.

      A banquet hall is defined as a space, which during the major period of
      occupancy, persons assemble for dancing or for the consumption of food
      and drink, or any combination of dancing, eating or drinking or
      entertainment.

      In order to award Mr. Brady any damages, you must find that during the
      major period of occupancy Mr. Brady's corporations were using the leased
      premises as a meeting hall. The Plaintiff seeks to recover damages for
      breach of the three leases. (Transcript, June 26, 2015, p. 405:2-26 & p.
      406:2-14). (R.394).

      Judge Ostrager went on to repeat again and again the same erroneous

definition of meeting and banquet halls, that even if true had nothing to do with

whether or not the personal guarantees were enforceable:

      Plaintiff asserts that Mr. Brady's corporations did not use the premises as a
      meeting hall, but instead used them as a banquet hall. It is for you to decide
      what use the premises were used for. My charges to you on the law of
      damages must not be taken as a suggestion that you find either for the
      Plaintiff or the defendant. It is for you to decide on the evidence presented
      and the rules of law I will give you whether either party is entitled to
      recover damages from the other. (Transcript, p. 410).

      The Plaintiff asserts that Mr. Brady's corporations did not use the premises
      as a meeting hall, but instead used them as banquet halls. It is for you to
      decide whether the premises were fit for use as a meeting hall, and if so
      whether they were used as meeting halls. If you find that the premises
      were not used as meeting halls, Mr. Brady cannot recover any damages on
      the fraudulent inducement claim. (Transcript, 414).




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      In Plaintiff's Second Amended Complaint, filed September 30, 2020,

proves that Sheindlin and IGS Realty’s other attorney Robert Fass fully

understood that Question Number 1 of the Jury Interrogatories was a finding

(based on the false law given to them by Judge Ostrager) that Plaintiff's

corporations were operating as banquet halls as opposed to the meeting hall use

stated on the leases.

      The second finding was that there was no breach of implied warranty of

habitability, which had never been a defense put forward by Brady since there is

no implied warranty of habitability in commercial leases.

      And the third question was a directive by Judge Ostrager that if the Jury

found that the premises were being used as banquet halls, the Jury must find that

there was no fraud in the inducement. No other findings exist.

      Yet Mr. Sheindlin himself wrote the financial judgment signed by the

County Clerk’s Office on May 31, 2017 asserting by implication that the Jury

found in favor of IGS Realty but without stating on what issue the Jury ruled, and

does not say the Jury found the personal guarantees were enforceable:

      The jury rendered a verdict on June 26, 2015, in favor of Plaintiff, against
      the defendant, in the sum of $541,758.62. (IGS Realty v. James H. Brady,
      Case No. 603561/2009 (NYS), Judgment, May 31, 2017).




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      In Sheindlin’s Motion to Dismiss, Defendant heavily relies on quoting

decisions by Judge Engelmayer and Magistrate Judge Wang that do nothing to

disprove the claims against Sheindlin.

      Neither Judge Engelmayer nor Wang were the randomly assigned judges to

this case. It should be noted that the case was randomly assigned on October 31,

2019 to Judge Nelson Roman, and then the case was reassigned to Judge Naomi

Reice Buckwell before being reassigned fourteen days later for a third time on

November 14, 2019 to Judge Paul Engelmayer. There was a clear agenda as to

why it was moved and landed on Judge Engelmayer’s desk.

      Claims that defy the facts must at minimum be disregarded by this Court,

if not reported while determining the undisputable claims against Sheindlin.

Nothing in any decision made by any judge, included Judges Wang and

Englemayer, disprove the claims against Sheindlin, and the Court must deny

Defendant’s Motion to Dismiss.

      In conclusion, there is no State Court judgment in favor of IGS Realty that

the personal guarantees were enforceable, and no State Court judgment against

Plaintiff’s defenses against the personal guarantees, although Plaintiff litigated

these issues extensively in State Court.




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      Sheindlin’s defense of Rooker-Feldman, collateral estoppel, and res

judicata fail miserably, as does his bizarre defense of the Noerr-Pennington

Doctrine.

      While Sheindlin repeatedly lied and states that Plaintiff was trying to

reverse a judgment wherein the evidence proves Plaintiff fought to get a

judgment, one way or another, on the personal guarantee matter, and Plaintiff’s

evidence proves the New York State Courts refused to adjudicate the issue

because it could only be adjudicated in Plaintiff’s favor because of the

admissions of IGS Realty principle Philippe Ifrah and his attorney Robert Fass.

      Sheindlin knew that the refusal of the State Court to adjudicate whether the

personal guarantees were enforceable created a stalemate which Sheindlin knew

would prevent him obtaining a judgment in favor of IGS Realty pertaining to the

personal guarantees, and Plaintiff’s evidence proves he obtained a financial

judgment by fraudulently misrepresenting through implication that Question

Number One of the Interrogatories was a jury finding that the personal guarantees

were enforceable, and that Questions No. 2 and 3 were jury findings rejecting

Plaintiff’s defenses to the enforceability of the personal guarantees.

      The State Court’s refusal to adjudicate the issue of the personal guarantees

did not make IGS Realty the State Court winner and Plaintiff the State Court




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loser on the personal guarantee contracts, which were the only contracts Plaintiff

had with IGS Realty.

      For all of the above reasons, Sheindlin’s Motion to Dismiss must be

denied.



DATED: December 1, 2020




                                             ___/s/____James H. Brady___

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